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                          IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA


    ANTHONY HAMMOND MURPHY,

                         Plaintiff,                         Civil Action No. 1:21-cv-16

         v.                                                 COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
    ENGLAND TRADING COMPANY, LLC,

                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Anthony Hammond Murphy1 (“Murphy” or “Plaintiff”), for his Complaint

against England Trading Company, LLC (“Industry West” or “Defendant”), by and through his

counsel, alleges upon personal knowledge as to himself and upon information and belief as to all

other matters, based upon the investigation conducted by and through his counsel, which

includes, among other things, an investigation of Defendant’s digital properties, as follows:

                         NATURE AND SUMMARY OF THE ACTION

        1.       This action arises from Defendant’s failure to make its digital properties

accessible to blind individuals,2 which violates the effective communication and equal access

requirements of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-

12189. These provisions were enacted “to provide a clear and comprehensive national mandate




1
        He/Him/His (see University of Pittsburgh, Gender-Inclusivity Guidelines, available at
http://www.gsws.pitt.edu/node/1432 (last accessed Dec. 23, 2020)).
2
        Murphy uses the word “blind” to describe individuals who, as a result of a visual
impairment, have substantially limited eyesight. This includes individuals who have no vision at
all as well as people who have low vision.
                                                  1
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for the elimination of discrimination against individuals with disabilities”3 by “assur[ing]

equality of opportunity, full participation, independent living, and economic self-sufficiency.”4

       2.       Although styled as an individual action, the injunctive relief that Murphy seeks

will inure to the benefit of an estimated 2.3 percent of the United States population who report

having a visual disability,5 and to Defendant, who will extend its market reach to this

population.6

       3.       For this significant portion of Americans, accessing websites, mobile applications,

and other information via their smartphones has become a necessity, not a convenience. In

contrast to the largely stationary internet of the early 2000s, Americans today are increasingly

connected to the world of digital information while “on the go” via smartphones.7

       4.       Indeed, a growing share of Americans use smartphones as their primary means of

online access at home. Today roughly one-in-five American adults are “smartphone-only”

internet users—meaning they own a smartphone, but do not have traditional home broadband

service.8



3
        42 U.S.C. § 12101(b)(1).
4
        42 U.S.C. § 12101(a)(7).
5
        Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the American
Community Survey (ACS). Ithaca, NY: Cornell University Yang-Tan Institute (YTI), available
at www.disabilitystatistics.org (last accessed Dec. 23, 2020).
6
        Sharron Rush, W3C Web Accessibility Initiative, The Business Case for Digital
Accessibility (Nov. 9, 2018), available at https://www.w3.org/WAI/business-case/ (last accessed
Dec. 23, 2020) (“The global market of people with disabilities is over 1 billion people with a
spending power of more than $6 trillion. Accessibility often improves the online experience for
all users.”).
7
        The wide-scale adoption of this technology is staggering. According to Pew Research
Center, the vast majority of Americans – 96% – now own a cellphone of some kind. And the
share of Americans that own smartphones has climbed from just 35% in 2011 to 81% in 2019—
amounting to more than 265 million people in the United States. U.S. Census Bureau, U.S and
World Population Clock, available at https://www.census.gov/popclock/ (last accessed Dec. 23,
2020) (U.S. population on June 12, 2019 was 328.1 million).
8
        Pew Research Center, supra note 7.
                                                 2
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       5.       The growth of smartphone usage is rivaled only by the myriad ways in which

users can harness the capabilities of the internet for the betterment of their lives through

education, employment, entertainment, commerce, and countless other pursuits.

       6.       The U.S. Chamber of Commerce has documented consumers’ increasing reliance

on mobile platforms to shop online:

       The average consumer spends more than $1,700 per year on online shopping, a
       number that’s continuing to rise. The convenience, affordability and ability to
       compare prices with ease has led more and more customers to visit e-commerce
       sites before heading to a brick-and-mortar location.9

       New research by Leanplum found that 95% of consumers will buy at least half of
       their gifts online. Shoppers, especially millennials and Gen Zers, favor the
       convenience and the great offers and discounts associated more with shopping
       online than visiting a brick-and-mortar location. It’s these groups that are driving
       e-commerce retailers to be strategic with their website design. The Leanplum
       survey found that 80% of respondents shop on their mobile devices.10

       7.       The Supreme Court has even acknowledged the phrase, “‘There’s an app for that’

has become part of the 21st-century American lexicon.” Apple Inc. v. Pepper, 139 S. Ct. 1514,

1518, 203 L.Ed.2d 802, 806 (2019).




9
        Emily Heaslip, U.S. Chamber of Commerce, A Guide to Building an Online Store (Sept.
20, 2019), available at https://www.uschamber.com/co/start/startup/how-to-build-online-stores
(last accessed Dec. 23, 2020).
10
        Emily Heaslip, U.S. Chamber of Commerce, 5 Ways to Optimize Your E-Commerce Site
for Mobile Shopping (Jan. 6, 2020), available at
https://www.uschamber.com/co/run/technology/building-mobile-friendly-ecommerce-websites
(last accessed Dec. 23, 2020). According to one report, e-commerce is growing 23% each year[.]
Emily Heaslip, U.S. Chamber of Commerce, The Complete Guide to Selling Online (Jan. 28,
2020), available at https://www.uschamber.com/co/run/technology/small-business-ecommerce-
guide (last accessed Dec. 23, 2020).
                                                  3
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        8.         But “[a]s technology continues to evolve at a rapid pace, it is important to

consider factors that can facilitate or impede technology adoption and use by people with

disabilities.”11

        9.         This is especially true with respect to accessing the internet by smartphone, where

people with disabilities stand to benefit immensely if online services were fully and equally

accessible to them. The National Federation of the Blind explains:

        In many ways, individuals with disabilities rely on Web content more so than their
        nondisabled peers because of inherent transportation, communication, and other
        barriers. A blind person does not have the same autonomy to drive to a covered
        entity’s office as a sighted person. A deaf or hard of hearing person does not have
        the same opportunity to call a covered entity’s office. A person with an intellectual
        disability does not have the same ability to interact independently with the staff at
        a covered entity’s office. The 24-hour-a-day availability of information and
        transactions on covered entity websites and mobile apps provides a level of
        independence and convenience that cannot be replicated through any other means.
        That is why the number of Americans who rely on the Internet has increased year
        after year and why entities offer information and transactions through that unique
        medium.12

        10.        When digital content is properly formatted, it is universally accessible to

everyone. When it’s not, the content provider fails to communicate to individuals with a visual

disability effectively. In turn, these individuals must expend additional time and effort to




11
        National Council on Disability, National Disability Policy: A Progress Report (Oct. 7,
2016), available at https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf (last
accessed Dec. 23, 2020).
12
        Comment from disability rights organizations to DOJ Supplemental Advance Notice of
Proposed Rulemaking “Nondiscrimination on the Basis of Disability; Accessibility of Web
Information and Services of State and Local Government Entities,” C RT Docket No 128, RIN
119 -AA65, available at https://nfb.org/ada-title-iiinternet-regulations-joint-sanprm-comments
(last accessed Dec. 23, 2020), Answer 57 (October 7, 2016) (citations omitted).
                                                     4
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overcome communication barriers not applicable to sighted users, which may require the

assistance of third parties or, in some instances, may deny outright access to the online service.13

       11.     Unfortunately, Defendant fails to communicate effectively with Murphy because

its digital properties are not properly formatted. Because of these communication barriers,

Defendant deprives consumers with visual disabilities, including Murphy, from accessing

information about its products and using its online services, all of which is readily available to

sighted persons.

       12.     This action seeks to remedy that discrimination and inequality.

                                 JURISDICTION AND VENUE

       13.     The claims alleged arise under Title III such that this Court’s jurisdiction is

invoked pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.     Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by offering and providing products and services over the internet to Pennsylvania

residents, including Murphy. Unlike, for example, a winery that may not be able sell and ship

wine to consumers in certain states, Defendant purposefully avails itself of the benefits and

advantages of operating an interactive, online business open 24-hours a day, 7-days a week, 365-

days a year to Pennsylvania residents.14 These online contacts between Defendant and



13
        These factors often lead disabled individuals to abandon the process of purchasing items
online after they begin. Kasey Wehrum, Inc., Your Website is Scaring Customers Away. 5 Easy
Ways to Fix It (Jan. 2014), available at https://www.inc.com/magazine/201312/kasey-
wehrum/how-to-get-online-customers-to-complete-purchase.html (last accessed Dec. 23, 2020)
(documenting the most common causes of shopping cart abandonment, including: “Your
Checkout button is hard to find[,]” “Shoppers question the safety of their personal info[,]” and
“Getting through the checkout process takes multiple clicks.”).
14
        See Gniewkowski v. Lettuce Entertain You Enterprises, Case No. 2:16-cv-1898-AJS,
Order, ECF 123 (W.D. Pa Apr. 25, 2017) clarified by Order of Court, ECF 169 (W.D. Pa. June
22, 2017) (Judge Schwab) (citing Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F.Supp. 1119
(W.D. Pa. 1997) (exercising specific personal jurisdiction over forum plaintiff’s website
                                                  5
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Pennsylvania residents involve, and indeed require, Defendant’s knowing and repeated

transmission of computer files over the internet in Pennsylvania.

       15.     Murphy was injured when he attempted to access the Digital Platform from Erie,

Pennsylvania, but encountered communication barriers that denied him full and equal access to

Defendant’s online products, content, and services.

       16.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Murphy’s

claims occurred.

                                              PARTIES

       17.     Murphy is a natural person over the age of 18. He resides in and is a citizen of

Erie, Pennsylvania, located in Erie County.

       18.     He graduated from Edinboro University with a degree in sociology in 1999 and

today he works for the Commonwealth of Pennsylvania.

       19.     Murphy is and, at all times relevant hereto, has been legally blind and is therefore

a member of a protected class under the ADA, 42 U.S.C. § 12102(2), and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq. As a result of his blindness,

Murphy relies on screen access software, including JAWS 2020 from Freedom Scientific and

VoiceOver with iOS, to access digital content, like an email, a website, or an app.




accessibility claims against out-of-forum hotel operator); Law School Admission Council, Inc. v.
Tatro, 153 F.Supp.3d 714, 720-21 (E.D. Pa. 2015) (exercising personal jurisdiction over out-of-
forum website operator); Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d 287 (D. Mass.
2017) (exercising personal jurisdiction over forum plaintiff’s website accessibility claims against
out-of-forum website operator); Access Now, Inc. v. Sportswear, Inc., 298 F.Supp.3d 296 (D.
Mass. 2018) (same).
                                                 6
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       20.     Murphy has advocated for blind individuals his entire life.15 To this end, in a class

action complaint asserting claims identical to this individual action, the United States District

Court for the Western District of Pennsylvania found that Murphy would fairly and adequately

represent a class of “[a]ll blind or visually disabled individuals who use screen reader auxiliary

aids to navigate content and who have accessed, attempted to access, or been deterred from

attempting to access, or who will access, attempt to access, or be deterred from accessing the

[defendant’s website] from the United States.” Murphy v. Charles Tyrwhitt, 2020 U.S. Dist.

LEXIS 222540, at *9 (W.D. Pa. Nov. 25, 2020).

       21.     Defendant is a Florida limited liability company with a principal place of business

in Florida.

       22.     Defendant sells furniture and accessories to consumers.

       23.     In order to access and purchase the products and services that Defendant offers,

Murphy may visit Defendant’s online stores at https://www.industrywest.com/ and

https://infavorof.com/ (the “Digital Platform”).

       24.     Defendant owns, operates, and/or controls its Digital Platform and is responsible

for the policies, practices, and procedures concerning the Digital Platform’s development and

maintenance.




15
        How did Erie plow crews do?: Your view from Facebook, GoErie.com (Jan. 7, 2018),
https://www.goerie.com/opinion/20180107/how-did-erie-plow-crews-do-your-view-from-
facebook (“Anthony Hammond Murphy: As a visually impaired person, I find it very difficult to
cross streets via curb cuts due to the snow and ice being plowed into these corners. The plow
drivers should be allowed to triangulate and get the corners as well, and not just go north-south
and east-west.”) (last accessed Dec. 23, 2020)
                                                   7
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                        STANDING UP FOR TITLE III OF THE ADA

       25.     “Congress passed the ADA in 1990 to fix a serious problem—namely, the

seclusion of people with disabilities resulting in explicit and implicit discrimination.”16 “It was

called the ‘20th Century Emancipation Proclamation for all persons with disabilities.’”17 “Title III

of the ADA contained broad language covering numerous public accommodations; both new

construction and existing facilities were required by the statute to remove barriers to access. The

disabled population hoped that, as a result of the ADA, their lives would no longer be shaped by

limited access and the inability to choose.”18 “However, reality—a lack of compliance with the

ADA and severe underenforcement of the statute—soon destroyed this hope.”19

       26.     Thirty years “after the passage of the ADA, numerous facilities are still not

compliant leaving the disabled population in a second-class citizenship limbo. Title III of the




16
         Kelly Johnson, Testers Standing up for the Title III of the ADA, 59 Cas. W. Res. L. Rev.
683, 684 (2009), available at http://scholarlycommons.law.case.edu/caselrev/vol59/iss3/6 (last
accessed Dec. 23, 2020) (citing H.R. REP. No. 101-485, pt. 2, at 28-29 (1990)).
17
         Kelly Johnson supra note 16 (quoting Russell Hymas & Brett R. Parkinson, Comment,
Architectural Barriers Under the ADA: An Answer to the Judiciary’s Struggle with Technical
Non-Compliance, 39 CAL. W. L. REV. 349, 350 (2003), available at
https://scholarlycommons.law.cwsl.edu/cgi/viewcontent.cgi?article=1166&context=cwlr (last
accessed Dec. 23, 2020)); see also 136 CONG. REC. 17,369 (1990) (statement of Sen. Tom
Harkin) (discussing how facilities have failed to comply with the ADA by not removing barriers
that impede access).
18
         Kelly Johnson supra note 16 (citing Elizabeth Keadle Markey, Note, The ADA’s Last
Stand?: Standing and the Americans with Disabilities Act, 71 FORDHAM L. REV. 185 (2002),
available at https://ir.lawnet.fordham.edu/flr/vol71/iss1/4 (last accessed Dec. 23, 2020) (arguing
for a more lenient standard for standing under the ADA)).
19
         Kelly Johnson supra note 16 (citing Samuel R. Bagenstos, The Perversity of Limited
Civil Rights Remedies: The Case of “Abusive” ADA Litigation, 54 UCLA L. REV. 1, 3 (2006),
available at https://www.uclalawreview.org/the-perversity-of-limited-civil-rights-remedies-the-
case-of-abusive-ada-litigation/ (last accessed Dec. 23, 2020) (discussing the need for private
enforcement in Title III of the ADA and the fact that the limitations courts are placing on ADA
plaintiffs are causing abusive litigation)).
                                                  8
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ADA allows both the U.S. Attorney General20 and private individuals21 to sue, but the rate at

which [ ] the Attorney General [is] bringing suit seeking compliance is extremely low. The

Department of Justice’s Disability Section, tasked with ADA enforcement, is understaffed[.]”22

       27.     Thus, “private suits by necessity represent the main tool for ensuring compliance

with Congress’ intent in passing the ADA,”23 most of which suits “are brought by a small

number of private plaintiffs who view themselves as champions of the disabled.”24

       28.     DOJ supports this dynamic, recognizing that because it “cannot investigate every

place of public accommodation” for ADA compliance, “[p]rivate plaintiffs play an important

role in enforcing the ADA[.]”25

       29.     Courts recognize this dynamic too.

       [Defendant] also points to the number of cases filed by the same plaintiff in this
       jurisdiction. Counsel have filed nine cases in this jurisdiction on behalf of [the
       plaintiff]. I am not impressed by this argument. If the ADA were enforced directly
       by the government, as are, for example, the fair housing laws, it is likely that
       government lawyers would have reached out to disabled individuals — “testers” as
       they are called — to find out which businesses were complying and which were
       not. [The named plaintiff] has functioned here as a “tester,” which is entirely
       appropriate.26



20
        42 U.S.C. § 12188(b).
21
        42 U.S.C. § 12188(a).
22
        42 U.S.C. § 12188(a).
23
        Betancourt v. Ingram Park Mall, 735 F. Supp. 2d 587, 596 (W.D. Tex. 2010).
24
        Id. (quoting Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir. 2007);
D’Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008) (same).
25
        Statement of Interest of the United States of America, ERC v. Abercrombie & Fitch Co.,
Case No. 1:09-cv-03157 (D. Md.), ECF No. 38, at 1 (July 6, 2010); See also Hensley v.
Eckerhart, 461 U.S. 424, 445 (1983) (“All of these civil rights laws depend heavily upon private
enforcement, and fee awards have proved an essential remedy if private citizens are to have a
meaningful opportunity to vindicate the important Congressional policies which these laws
contain.”).
26
        Norkunas v. HPT Cambridge, LLC, 969 F. Supp. 2d 184, 194 (D. Mass. 2013) (Young,
J.) (quoting Iverson v. Braintree Prop. Assocs., L.P., No. 04cv12079-NG, 2008 WL 552652, at
*3 n.5 (D. Mass. Feb. 26, 2008) (Gertner, J.); see also Murphy v. Bob Cochran Motors, Inc., No.
                                                9
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       30.     Consistent with the policies summarized above, Murphy now assumes the role of

private attorney general to ensure Defendant communicates effectively with him and other

consumers who demand full and equal screen reader access to Defendant’s digital services.

                               SUBSTANTIVE ALLEGATIONS

       31.     The internet is a significant source of information, services, and transactions with

instant and 24/7 availability and without the need to travel to attain them.

       32.     Individuals who are blind access the internet and mobile applications from

smartphones and/or personal computers by using keyboard controls and screen access software,

which vocalizes information presented visually on a computer screen or displays that information

on a user-provided refreshable braille display. Such software provides the only method by which

blind individuals can independently access digital information and content. When websites and

applications are not designed to allow for use with screen access software, blind individuals are

unable to access the information, products, and services offered through the internet.

       33.     Screen access technology has existed for decades27 and widely-accepted standards

exist to guide entities in making their websites and apps accessible to screen access software,

including legal standards under Section 508 of the Rehabilitation Act. The U.S. Department of

Health & Human Services maintains Best Practices for Accessible Content to ensure that

accessibility is “considered throughout the [website] development process.”28 The



1:19-cv-00239, 2020 U.S. Dist. LEXIS 139887, at *15-16 (W.D. Pa. Aug. 4, 2020), adopted by
Murphy v. Bob Cochran Motors, Inc., 2020 U.S. Dist. LEXIS 177593 (W.D. Pa., Sept. 28, 2020)
(upholding tester standing in a substantially identical ADA website accessibility case).
27
       Annemarie Cooke, American Foundation for the Blind, A History of Accessibility at IBM
(Mar. 2004), available at https://www.afb.org/aw/5/2/14760 (last accessed Dec. 23, 2020) (Jim
Thatcher created the first screen reader at IBM in 1986.).
28
       See U.S. Department of Health & Human Services, usability.gov, Accessibility Basics,
available at https://www.usability.gov/what-and-why/accessibility.html (last accessed Dec. 23,
2020).
                                                 10
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Commonwealth of Pennsylvania has maintained an Information Technology Accessibility Policy

since March 16, 2006,29 and a separate Accessibility Policy that recognizes “[a]ccessible

websites ensure that as many people as possible can use internet-based information and services,

regardless of disability or functional limitation.”30

                            Defendant’s Inaccessible Digital Platform

       34.     Defendant owns, operates, developed, procured, maintains and/or uses the Digital

Platform for the purpose of communicating information about its products and services to

consumers through computers, smartphones, and other mobile devices.

       35.     Defendant is required to ensure that its Digital Platform communicates

information about its products and services effectively to people with disabilities. Despite this

obligation, Defendant fails to communicate this information effectively to individuals who are

blind because the Digital Platform is not compatible with screen reader auxiliary aids.

       36.     Specifically, Murphy attempted to access Defendant’s Digital Platform from

Pittsburgh, Pennsylvania using JAWS 2020 from Freedom Scientific or VoiceOver with iOS (i.e.

on his Apple iPhone).




29
        Pennsylvania Office of Administration, Information Technology Policy: Information
Technology Accessibility Policy, Mar. 16, 2006, available at
https://www.oa.pa.gov/Policies/Documents/itp_acc001.pdf (last accessed Oct. 13, 2020).
30
        Commonwealth of Pennsylvania, Accessibility Policy, available at
https://www.pa.gov/accessibility-policy/ (last accessed Oct. 13, 2020).
                                                  11
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        37.     “VoiceOver is a gesture-based screen reader that lets you

enjoy using iPhone even if you don’t see the screen. With VoiceOver

enabled, just triple-click the Home button (or the side button on iPhone X

or later) to access it wherever you are in iOS. Hear a description of

everything happening on your screen, from battery level to who’s calling

to which app your finger is on. You can also adjust the speaking rate and

pitch to suit you. …You can control VoiceOver using a simple set of

gestures. Touch or drag your finger around the screen and VoiceOver

tells you what’s there. Tap a button to hear a description, then double-tap to select. Or flick left

and right to move from one element to the next. When you interact with an element, a black

rectangle appears around it so sighted users can follow along. When you prefer privacy, you can

activate a screen curtain to turn off the display completely, but still hear all that VoiceOver has to

say. And now with iOS 13, you can choose from a wide range of gestures and assign those

you’re most comfortable with to the commands you use most.”31

        38.     Here is an example of

another online store’s successful use of

alternative text to describe its products to

screen reader users.32 The image on the

left illustrates what shoppers perceive

visually when browsing the online store

with an iPhone. To the right, is an image



31
       See Apple, Accessibility, https://www.apple.com/accessibility/iphone/vision/ (last
accessed Dec. 23, 2020).
32
       See Custom Ink, Homepage, https://www.customink.com/ (last accessed Mar. 28, 2019).
                                                 12
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from the online store with the alternative text highlighted for that image in green. Although

invisible to the eye, screen access software reads this highlighted text aloud in order to describe

the image to shoppers who cannot perceive content visually. In this example, when shoppers tab

to the image file with a screen reader, the online store announces, “One burlap and cotton tote

bag with a custom printed architectural company logo.” Blind shoppers require descriptive

alternative text like this to access digital content fully, equally, and independently.

       39.     Unfortunately, because of Defendant’s failure to build its Digital Platform in a

manner that is compatible with screen access software, including VoiceOver, Murphy is unable

to understand, and thus is denied the benefit of, much of the content and services he wishes to

access from his smartphone.

       40.     As a result of visiting the Digital Platform, and from investigations performed on

his behalf, Murphy found that Defendant fails to communicate information about its products

and services effectively because screen reader auxiliary aids cannot access important content on

the Digital Platform. Click the images or links at the end of each subparagraph below to watch a

short video illustrating some of the communication barriers on Defendant’s Digital Platform.

               (a)     The Digital Platform

prevents screen reader users from accessing

primary content. For example, the Digital

Platform provides a tear sheet that shoppers may

review to better understand the key information

about Defendant’s products. Tear sheets are

particularly important to shoppers who shop online because they lack the opportunity to inspect

products in person. Unfortunately, the Digital Platform prevents screen readers from tabbing to



                                                  13
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these tear sheets. Instead, screen readers remain focused on the content of the Digital Platform’s

underlying pages. As a result, screen reader users, including Plaintiff, are unable to access the

information they require to confidently purchase products that will meet their needs, making it

likely they abandon the online shopping experience before making a purchase. Click the picture

contained in this paragraph or following link to view a short video describing this access barrier:

https://youtu.be/63PTL_yhNI0.

                (b)     The Digital Platform uses

visual cues to convey content and other

information. Unfortunately, screen readers cannot

interpret these cues and communicate the

information they represent to individuals with

visual disabilities. For example, shoppers who

perceive content visually will notice that many products available for purchase on the Digital

Platform include two prices. One price—a higher price—appears in strikethrough font. The

other—a lower price—does not. Shoppers who perceive content visually will understand that the

price appearing in strikethrough font is the “old” or “original” price, while the price appearing in

regular font is the “new” or “sale” price. Unfortunately, screen readers cannot identify the

meanings of these two fonts so that users can make an informed decision. Instead, Defendant

announces two prices for the same product, making it difficult for shoppers to determine with

certainty what they signify, like different quantities, conditions, sizes, or in this case, sales. This

unnecessary confusion frustrates Plaintiff’s ability to make informed purchasing decisions, and

increases the odds he will abandon the purchase process without making a selection at all. Click




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the picture contained in this paragraph or following link to view a short video describing this

access barrier: https://youtu.be/Sp-yurFdiZ8.

               (c)     The Digital Platform

prevents screen reader users from accessing some

primary content. For example, Defendant

interrupts shoppers in its Industry West online

store with pop-up messages prompting them to

visit its other online store, Favor. Shoppers who

perceive content visually can click the “Explore Gift Guide” button in this pop-up window to

visit Defendant’s other online store. Unfortunately, Defendant does not alert screen readers of

this pop-up window. Instead, screen readers remain focused on the content of the Digital

Platform’s underlying page, making the pop-up invisible to screen reader users. As a result, it is

impossible for Plaintiff to perceive this notification independently, the effect of which excludes

him from these other sections of Defendant’s Digital Platform. Click the picture contained in this

paragraph or following link to view a short video describing this access barrier:

https://youtu.be/2WqmOZmhu5g.

               (d)     The products that

Defendant sells on its Digital Platform are

available in several different colors. Shoppers

who perceive content visually may click or tap

their screen to select the color they wish to

purchase or view. Unfortunately, shoppers who

use screen readers to shop online cannot do the same. Instead, the Digital Platform is designed in



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such a way that screen readers cannot select a color option. This is because screen readers skip

from the content above these color options to the content beneath, making it impossible for

screen reader users, including Plaintiff to complete this required step of the online purchase

process. Click the picture contained in this paragraph or following link to view a short video

describing this access barrier: https://youtu.be/C7c97mEfPDI.

               (e)     The Digital Platform does

not provide a text equivalent for non-text

elements. Providing text alternatives allows the

information to be rendered in a variety of ways by

a variety of users. A person who cannot see a

picture, logo, or icon can have a text alternative

read aloud using synthesized speech. For example, the Digital Platform provides a five-star

rating for many products that Defendant sells. Shoppers who perceive content visually can see

whether a particular product has one, two, three, four, or five stars, and base their purchasing

decisions on this information. Unfortunately, Defendant’s accessibility policies fail to provide

sufficiently descriptive alternative text for this important rating information. To this end, screen

readers do not provide any audio information when they tab over the stars on the Digital

Platform. As a result, Plaintiff must make his purchasing decisions without the benefit of

knowing whether the products he’s researching are well received by other shoppers. Click the

picture contained in this paragraph or following link to view a short video describing this access

barrier: https://youtu.be/tB-6xUEYOJk.




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                                         Plaintiff’s Injury

        41.     As a result of the access barriers described above, and others, Defendant fails to

communicate information about its products and services to Murphy effectively, which in turn

denies Murphy full and equal access to Defendant’s online store and deters him from returning to

the store in the future.33

        42.     Still, Murphy intends to attempt to access the Digital Platform within the next six

months to research the products and services Defendant offers or to test the Digital Platform for

compliance with the ADA.34

        43.     If the Digital Platform were accessible (i.e. if Defendant removed the access

barriers and implemented the practices described herein), Murphy could independently access

Defendant’s online services.

                   Defendant’s Digital Platform Must Comply with the ADA

        44.     The ADA “as a whole is intended ‘to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities.’”35

        45.     Title III advances that goal by providing that “[n]o individual shall be

discriminated against on the basis of disability in the full and equal enjoyment of the products,

services, facilities, privileges, advantages, or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation.”36




33
      Your Website is Scaring Customers Away. 5 Easy Ways to Fix It, supra note 13.
34
      See Norkunas and Iverson supra note 28.
35
      Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 589 (1999) (quoting 42 U.S.C. §
12101(b)(1)).
36
      42 U.S.C. § 12182(a).
                                                 17
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        46.     DOJ regulations require that a public accommodation “furnish appropriate

auxiliary aids and services where necessary to ensure effective communication with individuals

with disabilities.”37

        47.     DOJ defines “auxiliary aids and services” to include “accessible electronic and

information technology” or “other effective methods of making visually delivered materials

available to individuals who are blind or have low vision.”38

        48.     Therefore, the ADA mandates that places of public accommodation provide

auxiliary aids and services to make visual materials available to individuals who are blind.39

        49.     Defendant is a place of public accommodation under the ADA because it is a

“sales or rental establishment” and/or “other service establishment.”40

        50.     The Digital Platform is a service, facility, advantage, or accommodation of

Defendant.

        51.     As a service, facility, advantage, or accommodation of Defendant, Defendant

must ensure blind patrons have full and equal access to the Digital Platform.

        52.     Indeed, the ADA expressly provides that a place of public accommodation

engages in unlawful discrimination if it fails to “take such steps as may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.”41




37
      28 C.F.R. § 36.303(c)(1); see Bragdon v. Abbott, 524 U.S. 624, 646 (1998) (holding that
DOJ’s administrative guidance on ADA compliance is entitled to deference).
38
      28 C.F.R. § 36.303(b)(2).
39
      28 C.F.R. § 36.303.
40
      42 U.S.C. § 12181(7)(E), (F).
41
      42 U.S.C. § 12182(b)(2)(A)(iii).
                                                18
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                    Defendant Received Fair Notice of its ADA Obligations

        53.     Defendant and other covered entities have had more than adequate notice of their

obligation to offer individuals with disabilities an equal opportunity to access and enjoy their

services and communications, including the Digital Platform.

        54.     Since its enactment in 1990, the ADA has clearly stated that covered entities must

provide “full and equal enjoyment of the[ir] goods, services, facilities, privileges, advantages, or

accommodations” to people with disabilities,42 and must “ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services.”43

        55.     The United States Department of Justice (“DOJ”) first announced its position that

Title III applies to websites of public accommodations in a 1996 letter from Assistant Attorney

General Deval Patrick responding to an inquiry by Senator Tom Harkin regarding the

accessibility of websites to blind individuals.44

        56.     Since then, DOJ has “repeatedly affirmed the application of [T]itle III to Web

sites of public accommodations.”45

        57.     In 2000, DOJ argued to the Fifth Circuit that a business providing services solely

over the internet is subject to the ADA’s prohibitions on discrimination on the basis of

disability.46



42
        42 U.S.C. § 12182(a).
43
        42 U.S.C. § 12182(b)(2)(A)(iii).
44
        Letter from Deval L. Patrick, Assistant Attorney General, Civil Rights Division,
Department of Justice, to Tom Harkin, U.S. Senator (Sept. 9, 1996), available at w
https://www.justice.gov/crt/foia/file/666366/download (last accessed Dec. 23, 2020)
45
        75 Fed. Reg. 43460-01, 43464 (July 26, 2010).
46
        Brief of the United States as Amicus Curiae in Support of Appellant, Hooks v. Okbridge,
Inc., Case No. 99-50891 (5th Cir. June 30, 2000),
https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/hooks.pdf (last accessed Dec.
                                                    19
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       58.     In 2002, DOJ argued to the Eleventh Circuit that there need not be a nexus

between a challenged activity and a private entity´s “brick-and-mortar” facility to obtain

coverage under Title III. DOJ argued that Title III applies to any activity or service offered by a

public accommodation, on or off the premises.47

       59.     In 2014, DOJ entered into a settlement agreement with America’s then-leading

internet grocer to remedy allegations that its website, www.peapod.com, is inaccessible to some

individuals with disabilities, in violation of the ADA. DOJ’s enforcement action against this

online-only business affirms the ADA covers public accommodations that do not operate brick-

and-mortar facilities open to the public.48

       60.     In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA applies
       to public accommodations’ websites over 20 years ago. This interpretation is
       consistent with the ADA’s title III requirement that the goods, services, privileges,
       or activities provided by places of public accommodation be equally accessible to
       people with disabilities.49




23, 2020) (“A COMMERCIAL BUSINESS PROVIDING SERVICES SOLELY OVER THE
INTERNET IS SUBJECT TO THE ADA’S PROHIBITION AGAINST DISCRIMINATION
ON THE BASIS OF DISABILITY.”) (emphasis in original).
47
        Brief for the United States as Amicus Curiae in Support of Appellant, Rendon v.
Valleycrest Productions, Inc., Case No. 01-11197, 294 F.3d 1279 (11th Cir. 2002), available
at https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/rendon.pdf (last accessed
Dec. 23, 2020).
48
        See Settlement Agreement Between the United States of America and Ahold U.S.A., Inc.
and Peapod, LLC, DJ 202-63-169 (Nov. 17, 2014), available at
https://www.justice.gov/file/163956/download (last accessed Dec. 23, 2020).
49
        See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018),
                                                 20
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        61.       In 2019, the United States Supreme Court declined to review a Ninth Circuit

decision holding that (1) Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq. (“Title III”) covers websites and mobile applications and (2) the imposition of liability on

businesses for not having an accessible website and mobile application does not violate the due

process rights of public accommodations.50

        62.       Thus, since at least since 1996, Defendant has been on notice that its online

offerings must effectively communicate with disabled consumers and facilitate “full and equal

enjoyment” of the products and services it offers.51

                                       SUBSTANTIVE VIOLATION

                               Title III of the ADA, 42 U.S.C. § 12181 et seq.

        63.       The assertions contained in the previous paragraphs are incorporated by reference.

        64.       Title III of the ADA guarantees that individuals with disabilities shall have full

and equal enjoyment of the products, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation.52

        65.       Defendant is bound by the regulations implementing Title III of the ADA, which

require that places of public accommodation ensure effective communication to individuals with

disabilities.53

        66.       Murphy is legally blind and therefore an individual with a disability under the

ADA.



https://www.adatitleiii.com/wp-content/uploads/sites/121/2018/10/DOJ-letter-to-congress.pdf
(last accessed Dec. 23, 2020).
50
        See Robles v. Domino’s Pizza, LLC, 913 F.3d 898 (9th Cir. 2019) cert. denied 589 U.S.
___ (U.S. Oct. 7, 2019) (No. 18-1539).
51
        42 U.S.C. § 12182(a).
52
        42 U.S.C. § 12182; 28 C.F.R. § 36.201.
53
        28 C.F.R.§ 36.303(c).
                                                   21
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       67.      Defendant is a place of public accommodation under the ADA because it is a

“sales or rental establishment” and/or “other service establishment.”54

       68.      Defendant owns, operates, or maintains the Digital Platform.

       69.      The Digital Platform is a service, facility, privilege, advantage, or accommodation

of Defendant.

       70.      The Digital Platform contains communication barriers that prevent full and equal

use by blind persons, including Murphy, using screen access software.

       71.      Because of these communication barriers, Defendant denies Murphy full and

equal enjoyment of the information, products, services, facilities, privileges, advantages, or

accommodations that it makes available to the sighted public through the Digital Platform.

       72.      These access barriers now deter Murphy from attempting to use the Digital

Platform.

       73.      Defendant’s discrimination is ongoing.

                                    PRAYER FOR RELIEF

       WHEREFORE, Murphy requests judgment as follows:

       (A)      A Declaratory Judgment that at the commencement of this action Defendant was

in violation of the specific requirements of Title III of the ADA described above, and the

relevant implementing regulations of the ADA, in that Defendant took no action that was

reasonably calculated to ensure Defendant communicated the digital content of its Digital

Platform to individuals with disabilities effectively such that Murphy could fully, equally, and

independently access Defendant’s products and services;




54
       42 U.S.C. § 12181(7)(E), (F).
                                                22
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       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to communicate the content of its

Digital Platform to screen reader users effectively such that Defendant’s online products and

services are fully, equally, and independently accessible to individuals with visual disabilities,

and which further directs that the Court shall retain jurisdiction for a period to be determined to

ensure that Defendant has adopted and is following an institutional policy that will in fact cause

it to remain fully in compliance with the law—the specific injunctive relief requested by Plaintiff

is described more fully below:55

               (1)     Within 90-days of the Court’s Order, Defendant shall complete an

accessibility audit of its Digital Platform that will examine the accessibility and usability of the

Digital Platform by consumers who are blind.

               (2)     Within 180-days of the Court’s Order, Defendant shall develop a

corrective action strategy (“Strategy”) based on the audit findings. In addition to the deadlines

outlined below, the Strategy shall include dates by which corrective action shall be completed.

               (3)     Within 210-days of the Court’s Order, Defendant shall disseminate the

Strategy among its executive-level managers, employees, and contractors, if any, involved in

digital development and post it on the Digital Platform.

               (4)     Within 90-days of the Court’s Order, Defendant shall develop a Digital

Accessibility Policy Statement that demonstrates its commitment to digital accessibility to blind



55
        The injunctive relief herein is consistent with a 2011 settlement agreement entered into
between National Federation of the Blind and The Pennsylvania State University, available at
https://accessibility.psu.edu/nfbpsusettlement/ (last accessed Dec. 23, 2020); a 2014 settlement
agreement between the U.S. Department of Justice and Ahold U.S.A., Inc. and Peapod, LLC,
supra note 47; and a 2014 Resolution Agreement between the U.S. Department of Education and
Youngstown State University, available at https://www2.ed.gov/documents/press-
releases/youngstown-state-university-agreement.pdf (last accessed Dec. 23, 2020).
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and other print disabled consumers, as required by the Americans with Disabilities Act. This

Policy Statement shall be posted in the header of each homepage on the Digital Platform within

120-days of the Court’s Order, and shall disclose that an audit is taking or has taken place and

that a Strategy will be disseminated and posted on the Digital Platform within 180-days of the

Court’s Order.

                 (5)   Within 240-days of the Court’s Order, Defendant shall develop procedures

to implement its Digital Accessibility Policy across the entire Digital Platform. Defendant shall

disseminate its Policy and procedures to its executive-level managers, employees, and

contractors, if any, involved in digital development.

                 (6)   Within 12-months of the Court’s Order, Defendant shall conduct training,

instruction and support to ensure that all executive-level managers and employees involved in

digital development are aware of and understand the Digital Accessibility Policy, including

proper procedures, tools, and techniques to implement the Digital Accessibility Policy

effectively and consistently.

                 (7)   Within 12-months of the Court’s Order, Defendant shall hire or designate

a staff person with responsibility and commensurate authority, to monitor the Digital

Accessibility Policy and procedures.

                 (8)   Within 12-months of the Court’s Order, Defendant shall develop and

institute procedures that require third-party content and plug-ins built into the Digital Platform to

provide blind consumers the same programs, benefits and services that they do to individuals

without disabilities, except that when it is technically unfeasible to do so. Defendant shall

effectuate these obligations by, among other things, implementing as part of its Request for

Proposal process language that bidders meet the accessibility standards set forth in WCAG 2.0



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Level AA for web-based technology and the Americans with Disabilities Act; requiring or

encouraging, at Defendant’s discretion, as part of any contract with its vendors, provisions in

which the vendor warrants that any technology provided complies with these standards and any

applicable current federal disability law.

               (9)     Within 18-months, all pages hosted on the Digital Platform that have been

published shall be Accessible to blind users. “Accessible” means fully and equally accessible to

and independently usable by blind individuals so that blind consumers are able to acquire the

same information, engage in the same interactions, and enjoy the same services as sighted

consumers, with substantially equivalent ease of use.

               (10)    Defendant shall not release for public viewing or use a substantial

addition, update, or change to the Digital Platform until it has determined through automated and

user testing that those proposed additions, updates, or changes are Accessible.

               (11)    Defendant shall conduct (a) an automated scan monthly and (b) end-ser

testing quarterly thereafter to ascertain whether any new posted content is accessible. Defendant

shall notify all employees and contractors, if any, involved in digital development if corrections

to Digital Platform are needed and of reasonable timelines for corrections to be made. Defendant

shall note if corrective action has been taken during the next monthly scan and quarterly end-user

test.

               (12)    Following the date of the Court’s Order, for each new, renewed, or

renegotiated contract with a vendor of Third-Party Content, Defendant shall seek a commitment

from the vendor to provide content in a format that is Accessible.

               (13)    Defendant shall provide Plaintiff, through his counsel, with a report on the

first and second anniversaries of the Court’s Order which summarize the progress Defendant is



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making in meeting its obligations. Additional communication will occur before and after each

anniversary to address any possible delays or other obstacles encountered with the

implementation of the Digital Accessibility Policy.

          (C)   Payment of actual, statutory, nominal, and other damages, as the Court deems

proper;

          (D)   Payment of costs of suit;

          (E)   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment;56

          (F)   Whatever other relief the Court deems just, equitable and appropriate; and

          (G)   An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

 Dated: January 7, 2021                           /s/ Lawrence H. Fisher
                                                  Lawrence H. Fisher
                                                  Pa. Bar ID #67667
                                                  One Oxford Centre
                                                  301 Grant Street, Suite 4300
                                                  Pittsburgh, PA 15219
                                                  Tel. (412) 577-4040
                                                  lawfirst@lawrencefisher.com



56
        See Access Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17,
2018) (ECF 11) (“[Plaintiff], as the prevailing party, may file a fee petition before the Court
surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for Clean
Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), and Garrity v. Sununu, 752
F.2d 727, 738-39 (1st Cir. 1984), the fee petition may include costs to monitor [Defendant’s]
compliance with the permanent injunction.”); see also Amended Order Granting In Part
Plaintiffs’ Motion For Attorneys’ Fees And Costs; Denying Administrative Motion To Seal,
National Federation of the Blind of California v. Uber Technologies, Inc., Case No 14-cv-
04086-NC (N.D. Cal. Nov. 8, 2019), https://rbgg.com/wp-content/uploads/NFB-v-Uber-
Amended-Order-Granting-In-Part-Pltfs-Motion-for-Attys-Fees-and-Costs-11-08-19.pdf (last
accessed Dec. 23, 2020) (finding plaintiffs “are entitled to reasonable attorneys’ fees incurred in
connection with monitoring [defendant’s] compliance with the Settlement” of a Title III ADA
case).
                                                26
